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                                                       Receipt number AUSFCC-5780940

                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS


DOE NO. 1,

DOE NO. 2,

                               Plaintiffs,             Docket No. 19-1749C

             v.
                                                       PLAINTIFFS’ COMPLAINT FILED IN
                                                       COLLECTIVE ACTION UNDER THE
UNITED STATES OF AMERICA,
                                                       FAIR LABOR STANDARDS ACT

                               Defendant.

                                              COMPLAINT

                                             INTRODUCTION

          1.      This is a civil action brought by Plaintiffs who are employees of the defendant

   United States of America (“Defendant”), in its Department of Justice, Federal Bureau of

   Investigation (“FBI”). Plaintiffs are employed as English Monitor Analysts (“EMAs”) in

   occupational series GS-0301. Plaintiffs bring this case on behalf of themselves and all others

   similarly situated. Plaintiffs seek to recover from Defendant back pay, liquidated damages,

   interest, attorneys’ fees, and costs pursuant to the Fair Labor Standards Act of 1938, as amended,

   29 U.S.C. § 201, et seq., (“FLSA”), 5 U.S.C. § 5596, and other applicable laws.

                                   JURISDICTION AND VENUE

          2.      This Court has jurisdiction over this civil action pursuant to 5 U.S.C. § 5596, 28

   U.S.C. §§ 1346(a)(2), 1491, and 29 U.S.C. § 216(b).

          3.      Further, this Court has jurisdiction under 28 U.S.C. §§ 2201 and 2202 to issue

   declaratory judgments and other relief sought herein in that actual controversies exist between




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the Plaintiffs and Defendant regarding actions and failures to act by Defendant under the FLSA

and otherwise.

                                           THE PARTIES

        4.       Plaintiffs are employees of Defendant within the meaning of 29 U.S.C. § 203(e),

and within the meaning of Title 5 of the U.S. Code, specifically, 5 U.S.C. §§ 2105, 5541.

        5.       Plaintiffs and others similarly situated are or have been employed by Defendant

during periods from 2016 to date.

        6.       Plaintiffs, and others similarly situated, desire anonymity in connection with their

participation in this litigation. They seek to litigate this case partially under seal in light of the

sensitive nature of the duties they perform for Defendant, and the need for their identities not to

be disclosed and made public in this litigation, or otherwise, as is more fully set forth in

Plaintiffs’ Motion for a Protective Order and to Permit Plaintiffs and Putative Class members to

File their Claims Anonymously, which is being filed on behalf of Plaintiffs and the putative class

members in this Court simultaneously herewith.

        7.       Defendant and its involved agency is, and at all material times has been, a “public

agency” and “employer” within the meaning of the FLSA, 29 U.S.C. § 203(d) and § 203(x), and

an executive agency within the meaning of 5 U.S.C. §§ 105, 5541, 5596.

                                   GENERAL ALLEGATIONS

        8.       Plaintiffs, and other similarly situated EMAs, have been employed by Defendant

in occupational series GS-0301 between 2016 and 2019, during which time Defendant classified

them as FLSA exempt.

        9.       Defendant and its officers and agencies are responsible under the United States

Constitution, federal law, and regulations for the establishment and administration of personnel,



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employment, and compensation policies and practices and for applying to Plaintiffs the

provisions of the FLSA and other applicable federal pay and compensation statutes and

regulations.

       10.     OPM regulations pertaining to the FLSA mandate that agencies observe the

following principles when making FLSA determinations. First, “[e]ach employee is presumed to

be FLSA nonexempt unless the employing agency correctly determines that the employee clearly

meets the requirements of one or more of the [FLSA] exemptions . . . [.]” 5 C.F.R. § 551.202(a).

Second, “[t]he burden of proof rests with the agency that asserts the exemption.” 5 C.F.R. §

551.202(c). Third, “[a]n employee who clearly meets the criteria for exemption must be

designated FLSA exempt. If there is a reasonable doubt as to whether an employee meets the

criteria for exemption, the employee will be designated FLSA nonexempt.” 5 C.F.R. §

551.202(d). Fourth, “[w]hile established position descriptions and titles may assist in making

initial FLSA exemption determinations, the designation of an employee as FLSA exempt or

nonexempt must ultimately rest on the duties actually performed by the employee.” 5 C.F.R. §

551.202(e).

       11.     5 C.F.R. § 551.531(c) of OPM regulations pertaining to the FLSA provide, inter

alia, that “an agency may not require that an employee be compensated for overtime work

…with an equivalent amount of compensatory time off from the employee’s tour of duty.”

Further, “[a]n employee many not directly or indirectly intimidate, threaten, or coerce any other

employee for the purpose of interfering with such employee’s rights to request or not to request

compensatory time off in lieu of payment for overtime hours.”

       12.     While employed as EMAs, Plaintiffs and others similarly situated have worked

more than 8 hours per day and 40 hours per week at various times since 2016.



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       13.     Nevertheless, at all material times herein, Defendant considered and treated

Plaintiffs and others similarly situated as FLSA exempt, and did not accord them the rights and

benefits to which FLSA non-exempt employees of Defendant are entitled.

       14.     From various times since 2016, Defendant required Plaintiffs, and other similarly

situated EMAs, to receive compensatory time instead of FLSA overtime pay or overtime pay at a

rate less than they are due under the FLSA, for working in excess of 8 hours each day and/or 40

hours each week.

       15.     At all material times herein, Defendant required Plaintiffs, and other similarly

situated EMAs, to receive travel compensatory time instead of FLSA overtime pursuant to the

requirements of 5 C.F.R. § 551.422.

       16.     Defendant and its officers and agency, the FBI, have previously and repeatedly

misclassified employees as exempt from the overtime provisions of the FLSA.

       17.     Defendant and its officers and agency, the FBI, willfully have violated the

provisions of the FLSA by wrongfully and willfully failing and refusing to provide Plaintiffs,

and other similarly situated EMAs, with pay and benefits due under the FLSA and implementing

regulations of Defendant.

                            COLLECTIVE ACTION ALLEGATIONS

       18.     Plaintiffs bring this action on behalf of themselves and all others similarly situated

(“the Class”), which is defined as follows: all FLSA FBI employees who worked as English

Monitor Analysts in occupational series GS-0301 between 2016 and the present.

       19.     Defendant failed to pay members of the Class all overtime due to them. As a

result, these employees received overtime pay at a rate less than they are due under the FLSA,

for working in excess of 8 hours each day and/or 40 hours each week.



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       20.      These employees suffered the same legal violation under the same factual

circumstances, attributable to Defendant, and seek the same remedies.

       21.      A collective action would be the most efficient way to resolve their FLSA

overtime claims, which involve the same questions of law and fact.

                                          COUNT ONE

             (Failure to Properly Compensate Plaintiffs for Overtime under FLSA)

       22.      Plaintiffs incorporate by reference herein the allegations contained in each of the

above paragraphs.

       23.      Defendant wrongfully and willfully denied Plaintiffs, and other similarly situated

EMAs, coverage under FLSA and wrongfully and willfully withheld overtime compensation due

them by failing and refusing to pay them in accordance with FLSA for hours worked in excess of

8 hours per day and/or 40 hours per week by misclassifying them as exempt.

                                              COUNT TWO

         (Request for Back Pay, Liquidated Damages, Interest, Attorneys’ Fees and Costs)

       24.      Plaintiffs incorporate by reference herein the allegations contained in each of the

above paragraphs.

       25.      As a result of the wrongful and willful violations of law by Defendant and its

officers and agents as alleged in the claims specified above, there is due and owing to Plaintiffs,

and others similarly situated, various amounts of back pay, liquidated damages, interest,

attorneys’ fees and costs.

       26.      Employment, time, work, pay, leave and other records relating to Plaintiffs are in

the possession, control, and custody of Defendant and its officers and agents and Plaintiffs is

unable to state at this time the exact amount of pay, benefits, and liquidated damages which are



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due and owing to them with respect to their individual claims. Defendant and its officers and

agents are under a duty imposed by Section 11(c) of the FLSA, 29 U.S.C. § 211(c), and other

statutes and regulations to maintain and preserve payroll and other employment records with

respect to Plaintiffs from which the amounts of Defendant’s liability to Plaintiffs may be

determined.

                                       PRAYERS FOR RELIEF

       WHEREFORE, Plaintiffs prays that this Court:

       a)      Certify this case as a collective action and promptly issue notice of this action to

all members of the class, apprising them of the pendency of this action, and permitting them to

assert their FLSA claims in this action by filing individual consents forms pursuant to 29 U.S.C.

§ 216(b);

       b)      Issue a declaration pursuant to 28 U.S.C. §§ 2201 and 2202 stating that Plaintiffs

and all others similarly situated were employed by Defendant in a non-exempt capacity under the

FLSA from at least 2016 to the present, and were wrongfully and willfully denied such status by

Defendant; and

       c)      Order Defendant, subject to rules and regulations to be established by this Court

which conform with the FLSA, to conduct a full, complete and accurate accounting of all back

overtime wages, interest, and liquidated damages due and owing to Plaintiff and others similarly

situated as a result of their misclassification as exempt from the FLSA; and

       d)      Award Plaintiffs and others similarly situated such back pay, liquidated damages,

and interest under the FLSA and Back Pay Act from the date of the denial of such pay and

entitlements until Defendant reclassifies Plaintiffs as non-exempt from the FLSA, and costs, as

are due and owing to them by Defendant under applicable federal laws and regulations; and



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       e)     Award Plaintiffs reasonable attorneys’ fees and costs to be paid by Defendant

under FLSA, the Back Pay Act, 5 U.S.C. § 5596, and the Equal Access to Justice Act, 28 U.S.C.

§ 2412(d)(1)(B); and

       f)     Issue a call upon Defendant pursuant to 28 U.S.C. § 2507, requiring the

production of information or papers of Defendant establishing Defendant’s liability herein; and

       g)     Grant to Plaintiffs such other relief as the Court deems just and proper.



                                                Respectfully submitted,


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Dated: November 11, 2019



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                                CERTIFICATE OF SERVICE

       Pursuant to the Rule 4 of the United States Court of Federal Claims, service of this

complaint on Defendant United States of America will be effectuated by the clerk of the court.



                                                    /s/ Alice Hwang
                                                    Alice Hwang




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